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2401            SMS - Inbox                                                                                                SMS
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       Description: (No description)
       From: +14159388147                                                             Time stamp
                                                                                      (Device time       3/14/2016 2:18:10 AM
                                                                                      +00:00):
       To: Me <+18123058776>

       Remote party: +14159388147

       Direction: Incoming                    Read status: Read                         Deleted: No

       So now you are getting a look at the real          You think he has your best interests at heart? Unfortunately you are
       going to end up being just another used pawn or even worse discarded when he gets what he wants from you and
       your people. He talks too much and you are now seeing his ultimate weakness, women. He's a master manipulator
       and has used that talent to make loads of money and rack up quite the list of women he's charmed into bed. Your
       wife and girlfriend aren't safe around him if there was an opportunity for him to put another notch in his headboard
       or fuel his incredible ego. You should have stayed where you were at and not relocated to MT. What we've
       gathered is you were doing quite well and weren't beholden to anyone professionally or financially and now you
       are. Venturing a guess that you live in a home that's provided, owned and controlled by him 100 percent and could
       be put out in the street on a whim. If you had a vagina he would have bought the house and given it to you like he
       has other women in his life. You're just another person that can give him something or fulfill an image he wants.
       His idea of loyalty is probably drastically different than yours and you will suffer that sooner or later. He will dismiss
       everything you say or think his way is always better regardless of the scenario. He will fly strippers, girlfriends and
       even flings on private jets, send them on lavish and expensive vacations, cars, surgeries, etc. etc. etc. but if you
       asked the same luxuries he'd brush it off like he was offended you would dare ask that of him. This can't be a
       newsflash to you or you're as dumb as his stripper wives and girlfriends. He will be way more concerned with how
       some dipshit celebrity he barely knows perceives him now after his bad press than he will ever be about how this
       event is harming you and your family, friends, career and ultimately your finances. Why? Because he doesn't care
       about you. It might be a good time for you to go on a nice vacation and think about getting off the sinking ship.




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